Case 19-17916-amc         Doc 16    Filed 05/19/20 Entered 05/19/20 15:35:52            Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                   Chapter 13
         Lisa Suarez
                                                         Bankruptcy No. 19-17916-JKF

                               Debtor

         TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.      Your Movant is Scott F. Waterman, Esq. the duly qualified and acting Chapter 13 Trustee
in the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 12/20/2019.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   There has been unreasonable delay as defined by 11 U.S.C Section 1307(c)(1) by the
             above-captioned Debtor(s).

         •   The Plan does not appear to be feasible.

        WHEREFORE, Scott F. Waterman, Esq., Standing Chapter 13 Trustee, requests that the
Court, after a hearing, enter an Order dismissing this case.

Date: 05/19/2020                                  Respectfully submitted,

                                                  /s/ Polly A. Langdon, Esq.
                                                  Polly A. Langdon, Esq.
                                                  for
                                                  Scott F. Waterman, Esq.
                                                  Standing Chapter 13 Trusteee
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